Case 4:10-cv-01997.. Document 324-5 Filed on 12/06/11 in TXSD_ Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

PEMEX EXPLORATION Y PRODUCCION,
Plaintiff,

¥.
Civil Action No. 4:11-cv-02019
Bic Star GATHERING Lip. L.L.P.,

F&M TRANSPORTATION, INC., JAMES JENSEN,
JOPLIN ENERGY, LLC, F/k/A HUTCHISON
HAYES ENERGY, LLC, JEFF KIRBY, PLAINS
ALL-AMERICAN PIPELINE, L.P., SEMCRUDE,
L.P., SAINT JAMES OIL, INC., SUPERIOR
CRUDE GATHERING, INC., TRANSMONTAIGNE
PARTNERS, L.P., WESTERN REFINING
Company, L-P.,

Hon. Melinda Harmon

Oe EG? OOD UG Se GP Ge GD KD Ge HD ED GO En GD Gn

Defendants,

DECLARATION OF JAMES JENSEN

James Jensen gives the following declaration pursuant to 28 U.S.C. § 1746, in support of
Saint James’s Motion to Dismiss Pursuant to Rule 12(b)(2) and 12(b)(6):

1. My name is James Jensen. I am over the age of eighteen and I have personal
knowledge of the matters testified to herein. This declaration is offered under oath and
under pains and penalties of perjury.

2. I am the President of Saint James Oil, Inc. (“St. James’), a Nevada corporation
engaged in the business of oil and gas exploration. Currently, all of St. James’s drilling
operations are in Colorado. In addition to its drilling operations, St. James also maintains passive
ownership interests in oil wells located in a handful of other states.

3. St. James is a partner of Big Star Gathering Ltd, LLP (“Big Star”), a Texas
partnership. The only other partner of Big Star is Saint James Energy Operating, Inc. (“St. James
Operating”), which owns 1% of the company, with the remaining 99% owned by St. James. J
am the Manager of Big Star.

4, St. James’s headquarters are located at 11177 Eagle View Drive in Sandy, Utah,
which is the address of my office. I am the sole officer of St. James.

5. All corporate functions for St. James, except for accounting and payroll, are
Case 4:10-cv-01997 Document 324-5 Filed on 12/06/11 in TXSD = Page 2 of 3

performed by me in my office in Sandy, Utah. Accounting and payroll is handled by a contract
accountant also located in Sandy, Utah. I set the general policies of the company and make high-
level decisions for St. James. However, all day-to-day decisions for the company are made by
Kent Moore, St. James’s Productions Superintendent. Mr. Moore, St. James’s only additional
employee, is located in Greeley, Colorado, near St. James’s active operations.

6. In exchange for my services for St. James, I am paid a management fee by St.
James’s operating company. Mr, Moore’s salary is also paid by St. James Operating, and he
performs no services for Big Star.

7. St. James has no offices in Texas, has no employees in Texas, and has no
operations in Texas. Nor does St. James own any real property in Texas. It is, however, a
passive investor in three oil wells located in Frio and Duval Counties in Texas by virtue of
owning royalty or non-operating working interests in these wells. Big Star has no direct or
indirect ownership in these wells.

8. Big Star is a registered Texas limited liability partnership in good standing with
the State of Texas. Attached as Exhibit “A” is a true and correct copy of a printout from the
Secretary of State’s website showing the company’s current status.

9. Big Star originally filed with the State of Texas as a domestic registered limited
liability partnership on October 15, 2002. The company has at all times maintained its active and
current status as’ a registered limited liability partnership since that time with the sole exception
of an inadvertent lapse in the fall of 2010, but it was reinstated within weeks. Attached as
Exhibit “B” is a true and correct copy of a printout from the Secretary of State’s website showing
the company’s status from 2002 to the fall of 2010. Because of the lapse, Big Star was told by
the Secretary’s office to register anew rather than submit the usual renewal form—resulting in
two separate listings with the Secretary of State for the same company. Attached as Exhibit “C”
is a true and correct copy of the registration application form submitted by Big Star on
November 12, 2010 to reinstate its registered, “in existence” status.

10. Big Star’s headquarters are located at its plant in George West, Texas. The
company has no additional facilities. Big Star is a Service Company engaged in the business of
purchasing crude oil at the wellhead for resale into interstate pipelines and/or directly to major
refineries. These purchases and sales are the product of almost daily decisions in terms of from
whom and where Big Star will buy and to whom Big Star will sell on any given day depending
on the offered price.

11. In my capacity as Big Star’s Manager, I participate in high-level, general policy-
making decisions for the company, including to whom we sell crude oil—which is a small
number of entities. However, all day-to-day operational decisions of Big Star are made by
Charles Cravens, the Plant Manager, who is located at the company’s George West headquarters.
Specifically, Mr. Cravens decides from whom and at what location Big Star will buy, and what
price it will pay, on any particular day. In general, Mr. Cravens consults me only on potential
purchases involving relatively large volumes—and then, only if he can reach me in time. Big
Star’s accounting and crude oil payments are handled by two bookkeepers located at its George
Case 4:10-cv-01997 Document 324-5 Filed on 12/06/11 in TXSD Page 3 of 3

West headquarters, and payroll is handled by an accountant located in Denver, Colorado who
functions as the company’s CFO, Beverly Licholat.

12. None of Big Star’s employees are employed by, or perfonn any services for, St.
James, with the exception of myself. All of Big Star’s employees are paid out of Big Star. I
draw a salary from Big Star for my work for this company, in addition to and separate from the
management fee I receive from St. James.

13. St. James and Big Star file separate tax returns, have separate bank accounts,
maintain separate accounting and payroll systems, maintain separate budgets and financial
records, have separate health insurance contracts for their employees, share commercial general
liability insurance but each pay a portion of the total premium, have separate offices, engage in
completely different types of operations, and have separate managers making their respective
daily operating decisions. The companies do not share any assets.

14. The Jast transaction in which Big Star engaged with Mr. Maldonado and/or Y Oil

& Gas was prior to September 2009, when I understand Mr. Maldonado to have pled guilty to
criminal charges.

I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED on August 8, 2011.

